                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                                     No.5:06-CV-114-D


JAMES M. GALLAGHER, as Trustee                   )
for and on behalf of National Packaging          )
Solutions Group Trust, et al. ,                  )
                                                 )
                                 Plaintiffs,     )
                                                 )
                      v.                         )                        ORDER
                                                 )
SOUTHERN SOURCE PACKAGING,                       )
LLC,                                             )
                                                 )
                                 Defendant.      )

        On March 14,2008, the court entered an order, inter alia, denying without prejudice plaintiffs

James M. Gallagher ("Gallagher") and National Packaging Solutions Group, Inc. 's ("NPSG")

(collectively, "plaintiffs")} motion for summary judgment. This order permitted plaintiffs to file a

motion to exclude the expert testimony of defendant Southern Source Packaging, LLC' s ("Southern

Source") expert witness on lost revenues. Because this motion to exclude impacted plaintiffs'

motion for summary judgment, the court also permitted plaintiffs to renew their motion for summary

judgment. On April 1, 2008, plaintiffs filed a motion to exclude the expert testimony and renewed

their motion for summary judgment. Thereafter, Southern Source responded in opposition, and

plaintiffs replied.

        As explained below, plaintiff s motion to exclude is granted, and plaintiff s motion for

summary judgment on the breach of contract claim is granted. Additionally, the court grants


         1 Plaintiffs consist of several different packaging corporations, a trust set up to liquidate their

assets, and a trustee (Gallagher) heading that trust. See Am. CompI. ~~ 1--4. The court refers to the
corporate entities collectively where appropriate as "NPSG." The court refers to the corporate
entities, the trust, and the trustee collectively as "plaintiffs."



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Southern Source summary judgment on plaintiffs' breach ofimplied covenant ofgood faith and fair

dealing and unjust enrichment claims.

                                                 I.

                                                A.

       In discussing this case, the court assumes familiarity with its order of March 14,2008 [D.E.

59]. See Gallagherv. S. Source Packaging. LLC, No. 5:06-CV-114-D, 2008 WL 697429 (E.D.N.C.

Mar. 14,2008). NPSG is a now-defunct packaging company. See Am. CompI. ~~ 8-10 [D.E. 33].

NPSG defaulted on its secured financial obligations, and its secured creditors foreclosed. Id. ~ 10.

On September 24, 2004, NPSG and Southern Source entered into a contract (the "Sale Agreement")

wherein Southern Source agreed to purchase NPSG's assets out of foreclosure. See id. ~ 11.

Southern Source agreed to pay $9,290,000 immediately, see id., and then to pay another $1,500,000

by Septernber 30, 2005 (the "deferred payment"). See id. ~~ 12, 18. In relevant part, the deferred

payment provision in the Sale Agreement states: "Buyer shall pay One Million Five Hundred

Thousand Dollars ($1,500,000.00) to the Sellers on the date that is twelve (12) months following the

Closing Date, which amount shall be reduced dollar for dollar by ... any Losses as defined in

[Article] 13 [of the Sale Agreement] ...." Def.'s Mem. in Supp. ofDef.'s Mot. for Summ. 1. Ex.

A, art. 3, ~ B, p. 3 [D.E. 25-2] [hereinafter "Deferred Payment Provision"].

       Southern Source did not timely remit the deferred paYment. Am. CompI. ~ 19. Rather, on

or about October 11,2005, Southern Source told NPSG that it was withholding the deferred payment

because NPSG made material misrepresentations to Southern Source about NPSG's financial

condition. See id. ~~ 20-22. Specifically, Southern Source claimed that certain NPSG personnel

misrepresented the status of various proposed price increases vis-a-vis NPSG customers. See id. ~



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28~ Def.'s Am. Mem. in Opp'n to Pl.'s Mot. for Summ. 1. 1-2 [D.E. 53].     Southern Source argued

that, because of these misrepresentations, it was misled into purchasing NPSG's assets, and was

entitled to deduct any revenues it lost by virtue of these misrepresentations on a dollar for dollar

basis under the Deferred Payment Provision. See Deferred Payment Provision (allowing Southern

Source to reduce the $1,500,000 deferred payment "dollar for dollar by ... any Losses" defined in

the Sale Agreement). Plaintiffs vigorously dispute Southern Source's allegation that NPSG made

any misrepresentations to Southern Source and dispute that Southern Source actually proved any

"'Losses" under the Deferred Payment Provision in the Sale Agreement. See Pis.' Mem. in Supp. of

PIs.' Mot. for Summ. 1. 11 [D.E.44].

                                                  B.

       On March 10, 2006, plaintiffs sued Southern Source in this court. On June 26, 2007,

plaintiffs amended their complaint. Jurisdiction is based on diversity of citizenship. See Am.

Compi. ~ 6. Plaintiffs' three-count amended complaint alleges breach of contract (id. ~~ 44-48),

breach of implied covenant of good faith and fair dealing (id. ~~ 49-50), and unjust enrichment (id.

~r~ 51-52).   Indiana substantive law applies.   See,~, Def.'s Mem. in Supp. of Def.'s Mot. for


Summ. 1. Ex. A, art. 18, ~ I, p. 22 [D.E. 25-2] ("This Agreement shall be construed in accordance

with and governed by the laws of the State of Indiana.").

       On June 23, 2006, the court entered a scheduling order [D.E. 9] [hereinafter "Scheduling

Order"]. The Scheduling Order accepted, with some modifications, the parties' discovery plan [D. E.

8] [hereinafter "Discovery Plan."]' Under the Scheduling Order, the parties would make initial

disclosures under Federal Rule of Civil Procedure 26(a)(1) by July 2, 2006. See Discovery Plan 1;

Scheduling Order 1. Additionally, the parties would submit reports from retained experts under



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Rule 26(a)(2) by October 6,2006. See Scheduling Order 1. The deadline to complete all discovery

was December 8, 2006. Id. The court later amended the deadline to complete all discovery to

February 6, 2007 [D.E. 11].

        Under Rule 26(a)(l), each party must provide "the name ... of each individual likely to have

discoverable information-along with the subjects ofthat information-that the disclosing party may

use to support its claims or defenses ...." Fed. R. Civ. P. 26(a)(l)(A)(i). On July 3,2006, Southern

Source disclosed three persons likely to have discoverable information: Tom Bennett, JeffSchwarz,

and Dave Hunt. See PIs.' Reply in Supp. of PIs.' Mot. to Strike & Renewed Mot. for Summ. J.

[hereinafter "PIs.' Strike Reply"] Ex. A [D.E. 65-2] (Def. 's Initial Disclosures). Southern Source

failed to disclose the subjects of these three persons' discoverable information. See PIs.' Strike

Reply 6. Consequently, plaintiffs submitted an interrogatory asking Southern Source to identify the

substance of each person's knowledge. See id.; Def.'s Resp. to PIs.' Interrogs. 2 [D.E. 44-4]. In

response, Southern Source stated that Dave Hunt ("Hunt") had "knowledge of the significant

increases in raw material costs experienced during the spring and summer of2004." Def.'s Resp.

to PIs.' Interrogs. 2-3. Southern Source also stated that Hunt had "knowledge with regard to the

inquires made by representatives of [Southern Source] concerning whether or not [NPSG] had

passed on to its customers the price increases [that the parties presently dispute] ... and the

responses to these inquiries received by [Southern Source]." Id. at 3. Southern Source further stated

that '"Chuck Mueller, ofChuck Mueller Consulting, ascertained the lost revenue sustained as a result

of failures to obtain price increases." Id.

       Under Rule 26(a)(2)(A), "[i]n addition to the disclosures required by Rule 26(a)(l), a party

must disclose to the other parties the identity of any witness it may use at trial to present evidence



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under Federal Rule[s] of Evidence 702, 703, or 705." Fed. R. Civ. P. 26(a)(2)(A). "[TJhis

disclosure must be accompanied by a written report-prepared and signed by the witness-if the

witness is one retained or specially employed to provide expert testimony ...." Fed. R. Civ. P.

26(a)(2)(B). This report must contain, inter alia, "a complete statement of all opinions the witness

will express and the basis and reasons for them." Fed. R. Civ. P. 26(a)(2)(B)(i). Although the

deadline for expert disclosures under Rule 26(a)(2) was October 6, 2006, plaintiffs consented to

extending this deadline, and Southern Source disclosed the report of its expert, Chuck Mueller

("Mueller"), on November 8, 2006. Pis.' Mem. in Supp. of Pis.' Mot. to Strike & Renewed Mot.

for Summ. 1. 21 [D.E. 62J [hereinafter "PIs.' Strike Mem."]; see Def.'s Disclosures Pursuant to Fed.

R. Civ. P. 26(a)(2) [D.E. 44-5]. Mueller accessed NPSG's old sales database, which was called

"FACTS." See Def.'s Disclosures Pursuant to Fed. R. Civ. P. 26(a)(2) & Ex. B. Using the data he

pulled from the FACTS database, Mueller calculated Southern Source's lost revenue due to NPSG's

alleged misrepresentations as $1,335,214.43. See id.

                                                 C.

       On July 30, 2007, plaintiffs moved for summary judgment [D.E. 43].                Plaintiffs'

memorandum discussed Mueller's deposition and extensively attacked Mueller's report. See Pis.'

Mem. in Supp. of PIs.' Mot. for Summ. 1. 12-22 [D.E. 44]. Plaintiffs appeared to contend that

Mueller's report was inadmissible because it did not meet the requirements for expert testimony.

See,~, id. at 12 (arguing that Mueller's report is "pure nonsense" that has "no probative value").


However, plaintiffs did not file a motion to exclude the report.

       On September 17, 2007, Southern Source responded to plaintiffs' motion for summary

judgment [D.E. 50]. Southern Source attached a new expert report from Mueller to its response.



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See Def.'s. Mem. in Opp'n to PIs.' Mot. for Summ. 1. Ex. 1. [D.E. 51-12]. In this new report,

Mueller changed his conclusion concerning lost revenue to state that Southern Source's lost revenue

totaled $897,772.13. See id. at 7. Mueller and Southern Source expressly acknowledged that

Mueller created the new expert report solely to address the criticisms that plaintiffs raised in their

memorandum in support of summary judgment. See id. at 2 ("I have addressed the concerns raised

in my deposition and in [plaintiffs'] Memorandum [in support of plaintiffs' motion for summary

judgment], and attached is a revised summary of data ...."); Def.'s Am. Mem. in Opp'n to PIs.'

Mot. for Summ. J. 19 ("Mr. Mueller has taken into account the issues raised in Plaintiffs'

Memorandum and prepared a new report."); Def.'s Mem. in Opp'n to PIs.' Mot. to Strike &

Renewed Mot. for Summ. 1. 9 [D.E. 64] [hereinafter "Def.'s Strike Opp'n"] ("Specifically, the

Mueller Supplementary Report is designed to address the criticism leveled at his initial report.").

Notably, Southern Source submitted this new expert report over eleven months past the deadline in

the Scheduling Order, over ten months past the expert disclosure deadline to which the parties

agreed, and over nine months past the amended deadline to complete discovery. See Scheduling

Order 1; PIs.' Strike Mem. 21; [D.E. 11].

       On March 5, 2008, the court held a hearing on all pending motions [D.E. 56, 58]. At this

hearing, plaintiffs explained that they had not filed a motion to exclude Mueller's testimony under

Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals. Inc., 509 U.S. 579

(1 993), even though their arguments sounded in Daubert, because they believed that the proper

course of action was to wait until trial to file a motion in limine. See Tr. of Mots. Hr' g 32, Mar. 5,

2008 [D.E. 63]. Southern Source responded to plaintiffs' arguments by noting that, perhaps,

Mueller's testimony should be considered as a summary ofvoluminous writings under Federal Rule



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of Evidence 1006, not as expert testimony under Federal Rule of Evidence 702. See id. at 11.

       On March 14, 2008, the court entered an order on all pending motions. The court rejected

Southern Source's suggestion that the Mueller testimony should be considered a summary of

voluminous writings under Federal Rule of Evidence 1006 rather than expert testimony under

Federal Rule of Evidence 702. See Gallagher, 2008 WL 697429, at *7. The court noted that

Southern Source identified Mueller as its expert witness on lost revenues, produced and purported

to supplement an expert report, and that plaintiffs had deposed Mueller as an expert witness. Id.

Further, the court expressed doubts about whether Mueller could provide competent evidence of

misrepresentation-related losses. See id. The court noted that Mueller's report and testimony were

the lynchpin of Southern Source's ability to prove that it incurred misrepresentation-related losses.

See id. & n.S. Without this evidence, Southern Source would not be able to meet its burden of

proving that it suffered any misrepresentation-related losses that would entitle it to withhold the

deferred payment, and plaintiffs would be entitled to summary judgment on the breach of contract

claim. See Tr. of Mots. Hr'g 10. Southern Source admitted at the hearing that "Mr. Mueller is the

touchstone for quantifying [misrepresentation-related losses], no question." Id.

       To permit the parties to brief whether to exclude Mueller's report and testimony, the court

denied plaintiffs' motion for summary judgment without prejudice, permitted plaintiffs to move to

exclude the Mueller report and testimony, and permitted plaintiffs to renew their motion for

summary judgment. See Gallagher, 2008 WL 697429, at *8. The court directed the parties to

address whether Southern Source's supplementation of the Mueller report was timely, and whether

either the original or new version of the Mueller report provides competent evidence of Southern

Source's alleged misrepresentation-related losses. See id.



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                                                  II.

                                                  A.

       The court turns first to whether Southern Source properly "supplemented" the Mueller report,

and whether its "supplementation" is timely under the Scheduling Order and the Federal Rules of

Civil Procedure. Southern Source notes that the Scheduling Order requires that "[s]upplementations

... shall be made seasonably as required by the Federal Rules of Civil Procedure." Discovery Plan

2. According to Southern Source, its "supplementation" is "seasonable" because the Federal Rules

of Civil Procedure allow a party to supplement its expert report at any time until pretrial disclosures

are due or until 30 days before trial. See Def.'s Strike Opp'n 12 (citing Fed. R. Civ. P. 26(a)(3) &

Fed. R. Civ. P. 26(e)(1)).

       Under Rule 26(a), "[t]he parties must supplement [their expert] disclosures when required

under Rule 26(e)." Fed. R. Civ. P. 26(a)(2)(D). According to Rule 26(e),

       A party who has made a disclosure under Rule 26(a) ... must supplement or correct
       its disclosure or response ... in a timely manner if the party learns that in some
       material respect the disclosure or response is incomplete or incorrect, and if the
       additional or corrective information has not otherwise been made known to the other
       parties during the discovery process ....

Fed. R. Civ. P. 26(e)(1). Further,

       For an expert whose report must be disclosed under Rule 26(a)(2)(B), the party's
       duty to supplement extends both to information included in the report and to
       information given during the expert's deposition. Any additions or changes to this
       information must be disclosed by the time the party's pretrial disclosures under Rule
       26(a)(3) are due.

Fed. R. Civ. P. 26(e)(2).

       Supplementation of an expert report permits a party to correct inadvertent errors or

omissions. Supplementation, however, is not a license to amend an expert report to avoid summary



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judgment.   See,~, Beller ex reI. Beller v. United States, 221 F.R.D. 696, 701 (D.N.M. 2003)


("[Rule 26(e)] does not give license to sandbag one's opponent with claims and issues which should

have been included in the expert witness' report ...." (quotation omitted)); Coles v. Perry, 217

F.R.D. 1,3 (D.D.C. 2003) ("[Rule] 26(e) does not grant a license to supplement a previously filed

expert report because a party wants to ...."); Reid v. Lockheed Martin Aeronautics Co., 205 F.R.D.

655, 662 (N.D. Ga. 2001) ("In short, Rule 26 imposes a duty on Plaintiffs; it grants them no right

to produce information in a belated fashion." (emphasis in original)). Courts distinguish "true

supplementation" (e.g., correcting inadvertent errors or omissions) from gamesmanship, and have

therefore repeatedly rejected attempts to avert summary judgment by "supplementing" an expert

report with a "new and improved" expert report. See,~, MicroStrategy. Inc. v. Business Objects.

S.A., 429 F.3d 1344, 1353 (Fed. Cir. 2005); Solaia Tech.. LLC v. ArvinMeritor. Inc., 361 F. Supp.

2d 797, 806 (N.D. Ill. 2005) ("It would appear that Nuschke' s much expanded opinion was prompted

solely by ArvinMeritor's summary judgment motion . . . . This is not the proper role for

supplementation of a report by an expert."); Beller, 221 F.R.D. at 71 ("To rule otherwise would

create a system where preliminary reports could be followed by supplementary reports and there

would be no finality to expert reports, as each side, in order to buttress its case or position, could

'supplement' existing reports and modify opinions previously given."); Akeva L.L.C. v. Mizuno

Corp., 212 F.R.D. 306,310 (M.D.N.C. 2002) ("To construe supplementation to apply whenever a

party wants to bolster or submit additional expert opinions would [wreak] havoc [on] docket control

and amount to unlimited expert opinion preparation.").

       Here, Southern Source did not file the new Mueller report to correct an inadvertent error or

omission. It filed the new Mueller report in order to address the numerous problems in the expert



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report that plaintiffs discussed in moving for summary judgment. Although a party generally may

engage in "true supplementation" at any point before the pretrial disclosure deadline, Southern

Source seeks to contort this sensible nL1e into the unacceptable rule that a party may permissibly

submit a new expert report until pretrial disclosures are due or until 30 days before trial so long as

the party characterizes the new report as a supplementation.

       Southern Source's argument hinges on an erroneous reading of the Federal Rules and the

Scheduling Order. To accept the argument would promote gamesmanship and delay. Cf. Fed. R.

Civ. P. 1; see Tucker v. Ohtsu Tire & Rubber Co., 49 F. Supp. 2d 456, 460 (D. Md. 1999) ("[A]

party who delays supplementing Rule 26(a)(2)(B) expert disclosures until [the last minute], absent

compelling reasons for doing so, should not expect the Court automatically to permit the expert to

testifY at trial about the newly disclosed information, for such action would condone 'trial by

ambush. "'). Because the new Mueller report is not "true supplementation," it is not "seasonable"

under the Scheduling Order or timely under the Federal Rules of Civil Procedure.

                                                  B.

       "If a party fails to [timely] provide information ... as required by Rule 26(a) or (e), the party

is not allowed to use that information or witness to supply evidence on a motion, at a hearing, or at

a trial, unless the failure was substantially justified or is harmless." Fed. R. Civ. P. 37(c)(1). The

court has "broad discretion" to determine whether an untimely disclosure is substantially justified

or harmless. See,~, S. States Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597

(4th Cir. 2003). In determining whether to exclude untimely expert disclosures, courts are to

consider five factors: "(1) the surprise to the party against whom the evidence would be offered; (2)

the ability of that party to cure the surprise; (3) the extent to which allowing the evidence would



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disrupt the trial; (4) the importance of the evidence; and (5) the non-disclosing party's explanation

for its failure to disclose the evidence." Id. The court has broad discretion to select the appropriate

remedy in light of the totality of the circumstances. See id. at 595; Fed. R. Civ. P. 37(c)(l).

       Turning to the five factors concerning exclusion, plaintiffs were surprised by the new Mueller

report. See Pis.' Strike Mem. 25 ("Mr. Mueller's new report likely contains new methodological

errors, but because the report was disclosed so late and is far from self-explanatory, it is impossible

for Plaintiffs to explore those in detail. "). Plaintiffs cannot cure that surprise without further delay

and further discovery, including another deposition of Mueller. Discovery, however, closed 15

months ago. Although a trial date has not been set, this case has been pending since March 2006,

and reopening discovery would trample the Scheduling Order and disrupt proceedings in this case.

Additionally, the new Mueller report is not particularly important, because Mueller already has a

report in the record. 2 Finally, Southern Source candidly admits that it submitted the new Mueller

report to try and stave off summary judgment. Therefore, having considered the five factors, the

court excludes the new Mueller report [D.E. 51-12]. In considering plaintiffs' renewed motion for

summary judgment, the court will consider only the original Mueller report that defendant provided

in its original Rule 26 disclosures [D.E. 44-5].

                                                   III.

       Fearing plaintiffs' Daubert arguments against the original Mueller report, Southern Source

now contends that Mueller is not in fact its witness on losses under the Deferred Payment Provision.

Rather, Southern Source argues that Mueller's expert testimony will be limited to discussing the


       2 Even if the court were to consider the new Mueller report, the new Mueller report would
not help Southern Source. As discussed below, Mueller does not qualify as an expert on lost
revenue, and his new report suffers from most of the same reliability flaws as does his previously­
disclosed report.

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general principles ofthe FACTS system. See Def.' s Strike Opp'n 2-4. Moreover, Southern Source

now maintains that Hunt is in fact the witness who will offer testimony concerning losses in the form

of a lay opinion, not Mueller in the form of an expert opinion. See id. at 4. According to Southern

Source's new theory,

       In this case, Mr. Hunt asked Mr. Mueller to assist him in mining and extracting sales
       data from a computer system containing the business records of [NPSG,] with which
       Mr. Hunt was unfamiliar. Mr. Mueller, using his admitted expertise, performed these
       functions and submitted the results to Mr. Hunt who confirmed that in his opinion,
       the numbers establishing the revenue shortfall resulting from Plaintiffs'
       misrepresentations were valid.

~ at 7.    This revisionist history is both factually inaccurate and an untimely attempt to substitute

Hunt as Southern Source's witness on lost revenue.

          As a factual matter, the record establishes that Mueller, not Hunt, is Southern Source's

witness on alleged losses. Hunt did not perform his own, independent calculations oflosses, and his

affidavit fails to show that he has relevant personal knowledge. Cf. Fed. R. Evid. 701(a); Certain

Underwriters at Lloyd's, London v. Sinkovich, 232 F.3d 200, 204 (4th Cir. 2000). Indeed, Hunt did

nothing but bless Mueller's results. David Hunt Aff. 2 [D.E. 51-10] ("I have reviewed [Mueller's

original] report that tracks the differential between actual and promised price increases. I am

confident that the summaries Mr. Mueller provides are accurate summaries of data stored in the

FACTS system."). In fact, the only thing that Hunt appears to have done in this case was to direct

Mueller to keep making calculations until he came up with a result that (conveniently) approximated

$1.5 million in losses. See,~, Mueller Dep. 71:11-71:14, Jan. 30,2007 [D.E. 57] ("You know,

it was an ongoing development: We're painting a car. At which point in time do you say the car is

done or it's the color I really like?"); id. at 76:6-76: 10 ("Q: Okay. And so then at some point during

this evolutionary process, Mr. Hunt decided he was satisfied with the program as you had developed


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it. Is that correct? A: That is correct."). The court rejects Southern Source's attempt to escape

Rules 701 and 702's requirements by offering Mueller's "expert" conclusions through the guise of

Hunt's lay witness testimony. Cf. Fed. R. Evid. 701 advisory committee's note (2000 amendment)

("Rule 701 has been amended to eliminate the risk that the reliability requirements set forth in Rule

702 will be evaded through the simple expedient of proffering an expert in lay witness clothing.").

       In any event, even if Southern Source could overcome Rule 701 and 702, Southern Source's

belated attempt to identify Hunt (rather than Mueller) as its witness on losses does not comport with

its initial disclosures or interrogatory responses. Notably, Southern Source never timely disclosed

Hunt as a person with discoverable information on losses. Thus, for the reasons set forth above with

respect to Mueller's new report, the court excludes Hunt's surprise testimony on losses as untimely

under Fed. R. Civ. P. 37(c)(l). See,~, Pfingston v. Ronan Eng'g Co., 284 F.3d 999, 1005 (9th

Cir. 2002) (recognizing district court's authority to exclude testimony on previously-undisclosed

subject matter in considering summary judgment motion); Caudell v. City of Loveland, 226 F.

App'x 479, 480-82 (6th Cir. 2007) (per curiam) (unpublished) (affirming district court's exclusion

of testimony and resulting grant ofsummary judgment where party attempted to offer new testimony

of previously-disclosed witnesses on previously-undisclosed subject in response to summary

judgment motion); Hartford Cas. Ins. Co. v. MC] Clothiers. Inc., 54 F. App'x 384, 388 (4th Cir.

2002) (per curiam) (unpublished).

       In sum, Mueller is Southern Source's witness on losses, not Hunt. Hunt's blessing of

Mueller's report does not provide independent, admissible evidence of losses. Without Mueller's

report, there is nothing in the record for Hunt to bless. Plaintiffs are entitled to summary judgment

unless Mueller's original report and testimony provide competent evidence from which a rational



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jury could find that Southern Source suffered misrepresentation-related losses that warrant a dollar­

for-dollar offset to the $1.5 million deferred payment.

                                                 IV.

        Because Southern Source offers Mueller as an expert witness, he must meet the requirements

of Federal Rule of Evidence 702, Daubert, and its progeny. Under Rule 702,

       If scientific, technical, or other specialized knowledge will assist the trier of fact to
       understand the evidence or to determine a fact in issue, a witness qualified as an
       expert by knowledge, skill, experience, training, or education, may testify thereto in
       the form ofan opinion or otherwise, if(1) the testimony is based upon sufficient facts
       or data, (2) the testimony is the product of reliable principles and methods, and (3)
       the witness has applied the principles and methods reliably to the facts of the case.

Fed. R. Evid. 702. The Mueller testimony and original expert report are inadmissible under this

standard, for at least two reasons. First, Mueller does not qualify as an "expert" on the issue of

losses. Second, Muller's testimony and original expert report are unreliable.

                                                  A.

       First, Mueller is not an expert on losses under the Deferred Payment Provision. In order to

offer expert testimony on an issue, the witness must be "qualified" as an expert on the issue. See,

~, Fed. R. Evid. 702; Jack W. Weinstein et aI., Weinstein's Federal Evidence § 702.04 (2d ed.


2002) ("[T]he court must determine whether a proposed witness's qualifying training or experience,

and resultant specialized knowledge, are sufficiently related to the issues and evidence before the

trier of fact ...."). "[T]rial courts have broad discretion when deciding whether a witness qualifies

as an expert. The decision necessarily focuses on the specific facts and circumstances of the case."

29 Charles Alan Wright & Victor James Gold, Federal Practice & Procedure § 6265 (1997)~ see

General Elec. Co. v. Joiner, 522 U.S. 136, 138-39, 146 (1997) (abuse of discretion is standard of

review for district court's decisions under Daubert).


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       Here , Mueller is a software consultant. ­ See Def.'s Disclosures Pursuant to Fed. R. Civ. P.

26(a)(2) ~ III; id. Ex. A (Mueller resume). Mueller is not an accountant or an economist. Mueller

Dep. 85: 8-85: 11. Mueller has no knowledge concerning NPSG' s customers, products, or production

costs. See,~, id. at 37:3-37: 12,39:9-40:2,45: 1-45:2,59:23-62:23, 100:3-100:22. Mueller has

never before served as an expert witness concerning lost revenue or any other subject. See Def.' s

Disclosures Pursuant to Fed. R. Civ. P. 26(a)(2) ~ v. Indeed, most remarkably, Mueller repeatedly

testified in his deposition that he does not have an opinion on losses under the Deferred Payment

Provision.    See,~,       Mueller Dep. 6:17-6:19, 53:13-53:16, 57:7-57:14, 101:24-102:3.

Accordingly, the court finds that Mueller is not "qualified as an expert" under Rule 702 to testify

about Southern Source's alleged losses under the Deferred Payment Provision.

                                                   B.

        Further, even if Mueller somehow did qualify as an expert, his original expert report and

testimony would still be inadmissible as unreliable. "[U]nder the [Federal] Rules [of Evidence] the

trial judge must ensure that any and all scientific testimony or evidence admitted is not only relevant,

but reliable." Daubert, 509 U.S. at 589; Fed. R. Evid. 702. "[T]he test of reliability is 'flexible,' and

... the law grants a district court the same broad latitude when it decides how to determine reliability

as it enjoys in respect to its ultimate reliability determination." Kumho Tire Co. v. Carmichael, 526

U.S. 137, 141-42 (1999) (emphasis in original).

       Here, the record shows that Mueller's original expert report and testimony are unreliable

under Rule 702. For example, there is no evidence that Mueller's method for determining losses is

generally accepted by accountants or economists. Cf. Fed. R. Evid. 702 advisory committee's note

(2000 amendment). There is no evidence of a known error rate for the methodology. Cf. id. There



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is no evidence that the methodology is subject to peer review. Cf. id. In fact, the only review that

Mueller's methodology has been subject to is from Southern Source. Mueller's deposition testimony

reflects Southern Source's complete control over Mueller's methods and results. See Mueller Dep.

70: 15-70:25. Southern Source simply gave Mueller some parameters, reviewed the results that these

parameters generated, and then changed the parameters until Southern Source reached the desired

results. See id. at 71: 11-71: 14; id. at 76:6-76: 10.

        Tellingly, Mueller has produced twelve different sets ofresults, ranging from approximately

$177,000 up to $1.7 million in "lost revenue." See PIs.' Strike Mem. 9-10. Mueller's testimony

changes to reflect whatever position Southern Source is currently taking as to lost revenue, and is

patently unreliable. See,~, LifeWise Master Funding v. Telebank, 374 F.3d 917, 929 (lOth Cir.

2004) (affirming district court's exclusion of expert testimony where "the methodology was not in

regular usage for predicting future profits, was not peer reviewed, has no uniform usage in any

known industry, and is capable of manipulation to achieve virtually any desired result"); Comer v.

Am. Elec. Power, 63 F. Supp. 2d 927, 935 (N.D. Ind. 1999) (excluding expert testimony after noting

the "breath-taking ease with which [the expert] ... changers] [his opinions] based on nothing more

than the mere suggestion of counsel" so that his testimony "easily accommodates whatever theory

... is needed by his client"); Fed. R. Evid. 702 advisory committee's note (2000 amendment) (court

may consider whether expert developed opinion solely for purposes of testifying in determining

whether opinion is reliable).

       Further, Mueller's original expert report and testimony are a cornucopia of Hawed

assumptions. See PIs.' Strike Mem. 12-20. For example, Mueller indiscriminately assumes that

every failure to meet Southern Source's dictated price increase goal is NPSG's fault. See,~, id.



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at 19-20; Fed. R. Evid. 702 advisory committee's note (2000 amendment) (court may consider

whether expert has accounted for obvious alternative explanations in determining whether expert

testimony is reliable)~ Pharmanetics. Inc. v. Aventis Pharms.. Inc., 182 F. App'x 267, 270-71,

273-74 (4th Cir. 2006) (per curiam) (unpublished) (affirming district court's exclusion of expert

testimony under Daubert and resulting grant of summary judgment where expert "calculated all

possible losses and indiscriminately assessed all losses to [defendant]")~ El Aguila Food Prods.. Inc.

v. Gruma Corp., 131 F. App'x 450, 453 (5th Cir. 2005) (unpublished) (affirming district court's

exclusion of expert testimony under Daubert and resulting grant of summary judgment where

expert's analytical errors included "characterizing all variances between the trade association

[projected] earnings data and plaintiffs' respective earnings as 'lost profits"'). Further, Mueller

makes unsupported leaps of logic.      See Fed. R. Evid. 702 advisory committee's note (2000

amendment) (court may consider whether expert's conclusion overreaches his supporting logic)~

Joiner, 522 U.S. at 146 ("A court may conclude that there is simply too great an analytical gap

between the data and the opinion proffered."). For example, Mueller's methodology cannot detect

any change in price that occurred between the first and last sales within the time frame that Southern

Source dictated. PIs.' Strike Mem. 17-18.

       To Mueller's credit, even he recognizes the serious logical flaws in Southern Source's

dictates. For example, when Mueller told Southern Source that the chosen time frame for analysis

might lead to errors, Southern Source simply responded that it was "aware of this." See Mueller

Dcp. 104: 17-1 06: 19. Further, when Mueller noted the possibility that Southern Source's chosen

parameters ignored that some NPSG customers might have gotten discounts for purchasing higher

volumes ofNPSG products, Southern Source told Mueller that this was "outside the scope of what



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[he] was doing." Id. at 106:20-108:7. In sum, Mueller's original expert report and testimony are

unreliable under Rule 702, and the court excludes them. 3

                                                  v.
       In its March 14,2008 order, the court permitted plaintiffs to renew their motion for summary

judgment. See Gallagher, 2008 WL 697429, at *8. Summary judgment may be granted when no

genuine issue of material fact exists and the moving party is entitled to judgment as a matter of law.

Anderson v. Liberty Lobby. Inc., 477 U.S. 242,247 (1986); Fed. R. Civ. P. 56(c). The party seeking

summary judgment initially must demonstrate the absence of a genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Once the moving party has met its burden, the

non-moving party may not rest on the allegations or denials in its pleading, Anderson, 477 U.S. at

248~ but "must come forward with specific facts showing that there is a genuine issue for trial."


Matsushita Elec. Indus. Co.. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quotation omitted

& emphasis removed).

                                                  A.

       Indiana law applies, and plaintiffs assert three claims against Southern Source: breach of

contract, breach of implied covenant of good faith and fair dealing, and unjust enrichment. Under


         3 In a last-ditch attempt to save Mueller from having to meet the requirements of Rule 702

and Daubert, Southern Source contends that plaintiffs have conceded Mueller's expertise and should
not now be permitted to challenge it. See Def. 's Strike Opp'n 4 ("[G]iven the Plaintiffs' unsolicited
concession ofMr. Mueller's expertise regarding the FACTS software and Plaintiffs' reliance on Mr.
Mueller in the past, there can be no doubt that his testimony is the product of reliable principles and
methods."). Plaintiffs' concession of Mueller's expertise in accessing and working with FACTS,
however~ does not translate into an expertise in calculating Southern Source's alleged losses. See
PIs. ~ Strike Reply 3 ("Southern Source trumpets Mr. Mueller's expertise regarding the FACTS
software. Such expertise, however, does not qualify Mr. Mueller to opine on lost revenue ....");
Daubert, 509 U.S. at 591-92 ("Rule 702's 'helpfulness' standard requires a valid scientific
connection to the pertinent inquiry as a precondition to admissibility."). Thus, the court rejects
Southern Source's argument.

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Indiana law, "[t]he essential elements of a breach of contract action are the existence of a contract,

the defendant's breach thereof, and damages." Am. Family Mut. Ins. Co. v. Matusiak, 878 N.E.2d

529, 533 (Ind. Ct. App. 2007) (quotation omitted).

        The parties do not dispute that the Sale Agreement is a valid, enforceable contract. However,

Southern Source argues that it did not breach the contract or cause damages to plaintiffs, because it

was exercising its rights under the contract to withhold the deferred payment in light of its

misrepresentation-related losses. Because Southern Source is seeking to excuse its performance by

invoking the contract's Deferred Payment Provision, Southern Source bears the burden of proving

that its misrepresentation-related losses warrant a dollar-for-dollar offset to the $1.5 million deferred

payment. See Tr. of Mots. Hr'g 9.

        As discussed, the only independent evidence in the record in support of Southern Source's

alleged misrepresentation-related losses is the original Mueller report. Because the court today

excludes the original Mueller report and Mueller's testimony, there is no evidence sufficient to

support a rational jury finding that Southern Source has suffered misrepresentation-related losses

sufficient to allow it to withhold any of the $1.5 million deferred payment.

        The Hunt affidavit does not provide independent evidence of Southern Source's losses,

because Hunt does nothing but state that Mueller's report is correct. See Hunt Aff. 2 ("1 have

reviewed [Mueller's original] report that tracks the differential between actual and promised price

increases. I am confident that the summaries Mr. Mueller provides are accurate summaries of data

stored in the FACTS system."). The Hunt affidavit is thus entirely dependent on the Mueller report

with respect to the issue of misrepresentation-related losses. Without the Mueller report, the Hunt

affidavit is an empty shell. Accordingly, there is no genuine issue of material fact about whether



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Southern Source breached the Sale Agreement by withholding the $1.5 million deferred payment

without justification, and plaintiffs are entitled to judgment as a matter of law on their breach of

contract claim. See Fed. R. Civ. P. 56(c); Ruffin v. Shaw Indus., Inc., 149 F.3d 294, 303 (4th Cir.

1998) (per curiam).

                                                B.

       Finally, the court addresses plaintiffs' claims for breach of implied covenant of good faith

and fair dealing (Am. CompI. ~~ 49-50), and for unjust enrichment (id. ~~ 51-52).4 As for the

breach of implied covenant of good faith and fair dealing claim, "Indiana law does not imply such

a covenant in every contract." Allen v. Great Am. Reserve Ins. Co., 766 N.E. 2d 1157, 1162 (Ind.

2002); First Fed. Sav. Bank of Ind. v. Key Mkts.. Inc., 559 N.E.2d 600,604 (Ind. 1990). "Indiana

courts have recognized an implied covenant of good faith and fair dealing in contract law, but

generally only in limited circumstances involving employment contracts and insurance contracts."

Allison v. Union Hosp.. Inc., 883 N.E.2d 113, 123 (Ind. Ct. App. 2008). As such, Indiana courts

have found "that a claim that an implied covenant of good faith and fair dealing has been breached

is really a claim of breach of fiduciary duty." Del Vecchio v. Conseco, Inc., 788 N.E.2d 446,451

(Ind. Ct. App. 2003) (quotation omitted).

       The Sale Agreement contains no express covenant of good faith and fair dealing. Further,

plaintiffs have neither contended nor established that they were in a fiduciary relationship with


        4 Southern Source made arguments about these two claims in its opposition to plaintiffs'

motion for summary judgment on the breach of contract claim. See Def.'s Am. Mem. in Opp'n to
PIs.' Mot. for Summ. J. 12 n.4. Although Southern Source should have raised these issues in a
motion for summary judgment, plaintiffs were on notice that they needed to defend against Southern
Source's arguments concerning these two claims. Accordingly, the court may consider whether to
sua sponte grant defendant summary judgment on plaintiffs' breach of implied covenant of good
faith and fair dealing and unjust enrichment claims. See,~, United States Dev. Corp. v. Peoples'
Fed. Sav. & Loan Ass'n, 873 F.2d 731, 735 (4th Cir. 1989).

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Southern Source. Accordingly, plaintiffs' breach of implied covenant of good faith and fair dealing

claim fails, and Southern Source is entitled to summary judgment on that claim.

       As for the unjust enrichment claim, unjust enrichment under Indiana law is "also referred to

as quantum meruit, contract implied-in-Iaw, constructive contract, or quasi-contract." Bayh v.

Sonnenburg, 573 N.E.2d 398, 408 (Ind. 1991). A party may not recover under a quasi-contract

theory when there is in fact a valid, governing contract. See,~, DiMizio v. Romo, 756 N.E.2d

1018, 1025 (Ind. Ct. App. 2001); Milwaukee Guardian Ins.. Inc. v. Reichhart, 479 N.E.2d 1340,

1343-44 (Ind. Ct. App. 1985).

       Here, neither party disputes the validity of the contract. Accordingly, plaintiffs' unjust

enrichment claim fails, and Southern Source is entitled to summary judgment on that claim.

                                                VI.

       Because the court today grants summary judgment in favor of plaintiffs on their breach of

contract claim, plaintiffs are entitled to recover the $1,500,000 deferred payment. Plaintiffs also

seek pre-judgment and post-judgment interest, attorneys' fees, and costs.

       Plaintiffs shall submit their proposed calculation on these other items to the court not later

than July 1, 2008. Plaintiffs shall state with particularity their reasoning with respect to pre­

judgment and post-judgment interest, attorneys' fees, and costs. Plaintiffs shall support their

reasoning with proper Indiana authority, where applicable. Defendant may file objections to the

proposed calculation not later than July 21, 2008. If defendant objects to plaintiffs' calculations,

defendant shall state with particularity its reasoning with respect to each item to which it objects.

Defendant shall support any objection with proper Indiana authority, where applicable. Plaintiffs

may tile a reply not later than July 25,2008. The court will enter an appropriate order andjudgment

in due course.

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                                                 VII.

       For the reasons discussed, plaintiffs' renewed motion for summary judgment is GRANTED

with respect to the breach of contract claim, and plaintiffs are awarded the $1,500,000 deferred

payment. In addition, the court sua sponte GRANTS summary judgment in favor ofSouthern Source

with respect to plaintiffs' breach of implied covenant of good faith and fair dealing and unjust

enrichment claims. Plaintiffs shall submit their calculation concerning pre-judgment and post-

judgment interest, attorneys' fees, and costs not later than July 1,2008. Southern Source shall file

any objections to plaintiffs' calculation not later than July 21, 2008. Plaintiffs may file a reply not

later than July 25, 2008.

       SO ORDERED. This -10- day of June 2008.




                                                        JAM S C. DEVER III
                                                        United States District Judge




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